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                 IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION                                    -

     I TED STATES OF AMERI CA        )

V.
                                            CASE NO. CR499-133
ERIC BEPNARD HICKS,

        Defendant.


                                 ORDER

        Before the Court is Defendant Hick's "Notice in the

Nature of a Demand for Return of Seized Property."                    (Doc.

737.) Defendant requests that the Government return $6,000 in

U.S. currency, one gold ring, and one wedding band.                        The

Government has filed a response asserting that it is not in

possession of the property. (Doc. 73 g .) After careful

consideration, the Government is DIRECTED to SUPPLEMEN'I' its

response to Defendant's Motion by providing the Court with

evidence supporting the Government's assertion. Accordingly,

the Government shall have twenty (20) days from the date of

this Order to file its supplemental response.

        Based on Defendant's Motion, he claims that the

Government seized $6,000 in U.S. currency, one gold ring, and
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one wedding band. In response, the Government contends that

it is not in possession of Defendant's property.'

     Federal Rule of Criminal Procedure 41(g) allows for an

individual to petition for the return of seized property "on

the ground that such person is entitled to lawful possession

of the property." United States v. Eubanks, 169 F.3d 672, 674

(11th Cir. 1999).        Rule 41(g) is not applicable where the

Government has retained the property pursuant to a valid civil

forfeiture. Id.

     The Government concedes that it never instituted any

forfeiture proceedings against any of Defendant's property in

this case. Rather, the Government asserts that it is not in

possession of these items.           However, the Government must

provide some documentation to support its contention, such as

a verified inventory of items seized from Defendant at the

time of his arrest. See United States v. Potes Ramirez, 260

F.3d 1310, 1314 (11th Cir. 2004) . The Government is unable to

avoid accounting for Defendant's property by simply asserting

that they do not have it.          See Id.     Without documentation

supporting the Government's assertion, the Court is unable to

rule on the merits of Defendant's Motion.



1 Defendant does state that the Government returned $1,600 of
the $6,000. Therefore, Defendant seems to only be requesting
that the Government return the additional $4,400.
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     Accordingly, the Government is DIRECTED to SUPPIEMENT its

response to Defendant's Motion by providing documentary

evidence to support its assertion. The Government shall have

twenty (20) days from the date of this Order to file its

supplemental response.
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     SO ORDERED this          day of January, 2009.




                            WILLIAM T. MOORE, JR.,   IEF JUDGE
                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA




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